Case 16-60040 Document 2993 Filed in TXSB on 08/22/18 Page 1 of 5
uNlTEo sTATEs BANKnuPTcY couRT
souTHERN mo wesTEnN msmlc'rs or 'rF.xAs

HOUSTON D|VlSlO.\'

m RE: §

Linn Energy, LLC § CASE No_ 16'60040
§ CHAPTER 11

DEBTOR §

CHAPTER ll POST-CONF[RMATION REPORT
FOR TI{E QUARTER END|NG .ll`NE 2018

l. -Quarterly or EFina|(ehcekone)

2. SUMMARY OF DlSBURSEMENTS*:

A. Disbursements made under the plan (itemize an page 3) $ 0-00
B. Dishnrsements not under the plan 5 384,8\1,238.00
Total Disbursements 5 384.8| 1.238.00

*ALL DISBURSEMENTS MADE BY THE REORGAN[ZED DEBTOR, i.|NDl:`.R THE PLAN OR OTHERWlSE, MUST BE
ACCOUNTED FOR AND REPORTED HERE|N FOR THE PURPOSE OF CALCULATING THE QL|ARTERLY FEES.

3. Has the order confirming plan become iinal'.’ Yes m No
Are Pian payments being made as required under the l’lan'.' Yes E No
5. if "No", what Plan payments have not been made and why'.'

Please explain: N"'A

 

 

 

 

 

 

fn li' plan payments have not yet begnn, when will the first plan payment be made'.’ (Date)

?. What date did the reorganized debtor or successor of the debtor under the plan assume the business or management of the property
treated under the plan‘.’ Fcbn.lag 28, 20|7 (Date)

B. P|ease describe any factors which may materially affect your ability to obtain a final decree at this time.
None

9. Complete the form for P|an Disbursements attached.

l0. CONSUMMATION OF PLAN: ]NmALS

A. ll' this is a iinal report1 has an application for Final Decree been sabmitted*'.'
m Yes Date application was submitted

No Datc when application will be submitted Nm k'm“’“- UST USE GNLY

*umqu\rnd by Local nunn

B. Estimated Date of Final payment Linder Plan

DATE

 

 

 

iCERT|FY UNDER I’ENALTY OF PER.IURY THAT THE ABOVE INFORMATION lS TRUE AND CORRECT TO THE
BEST OF MY KNOWLEDGE.

|
slGNEo: §§M%;L\kj`i DATE: 8.-'9.-'20| 8

Darren Schluter, EVP and CAO
(PRINT NAME)

 

CaSe 16-60040 Document 2993
1\'11¥.: Li"" E"¢l'gy. LLC

 

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c=\s£No.M

 

Cr\Sll RECEIPTS r\ND DlSBl:RSEME.\'TS

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REI'AIRS. M-\lNTEN-\NCE & Sl`l'l’l.lES

 

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lN RE:

Linn Energy, LLC CASE NO_ 16-60040

 

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DE`.BTOR

PAYMENTS TO CRED|TORS I_|NDER THE. PLAN

l'_`l`RRENT C()NF|RMAT|O.\'
Q['ARTER T() D.-\TE

NEX‘I` PAYM ENT
DUE

TOT¢\L PL.¢\.\' l’_-\\`ME`..\€TS: (rcport nn page l and page ll

 

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linn |¢iieludin¢ lerry| Disiaiirsements Summary
Arnourrts in thousands

 

 

 

 

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Non-Operat|n¢ nishursements

 

 

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Notel.-
ll Erldir\¢ Caslt Ba|ar\ces reliect only operating bank accounts and exclude restricted cash accounts

2) This Disbursement Summary is unaudited and does not purport to represent f nani:ial statements prepared in accordance w th generally aceepiei:
accounting principles nor are they intended to luily reconcile to the financial statements prepared lay the Reor¢anized Debtor ["the Campany'l.
information contained lnt*ie ntsbursement Surnrnary has been derived from the Cornpany's books and records Thereiore_ li- order to comply with
their obligations to provide quarterly reporting during the Chapter ll case, the Cornpany has prepared this quarterly report using the best information
presently available to them `l'his Diibursement Sumrnary is true and accurate to die best el the Cornpany‘i knowied¢e. information and beliel based
on current available data the results financial results contained herein are not necessarily indicative of resi. ts t'iat may l:ie expected for any other
period or lot the full year ard may not necessarily reflect the consolidated financial results of the Company lr' the future

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